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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

                                                               Case No. 20-33948 (MI)
    FIELDWOOD ENERGY LLC, et al.,
                                                               (Jointly Administered)
                                   Debtors. 1



                                       AFFIDAVIT OF SERVICE

        I, Seth Botos, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing, and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

       On February 8, 2021, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Master Service List
attached hereto as Exhibit A:

      •      Stipulation and Agreed Order by and Among the Debtors, the Prepetition Agents and the
             Official Committee of Unsecured Creditors Extending the Challenge Period as to
             Preserved Claims [Docket No. 863]

      •      Stipulation and Agreed Order by and Among the Debtors, the Prepetition Agents and the
             Official Committee of Unsecured Creditors Extending the Challenge Period as to
             Preserved Claims [Docket No. 866]

      •      Stipulation and Agreed Order by and Among the Debtors, the Prepetition Agents and the
             Official Committee of Unsecured Creditors Extending the Challenge Period as to
             Preserved Claims (Related Documents: 603, 680, 866) [Docket No. 867]


                               [Remainder of page intentionally left blank]




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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Dated: February 10, 2021
                                                         /s/ Seth Botos
                                                         Seth Botos
State of New York
County of New York

Subscribed and sworn to (or affirmed) to me on February 10, 2021, by Seth Botos, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ JAMES A. MAPPLETHORPE
Notary Public, State of New York
No. 01MA6370846
Qualified in New York County
Commission Expires February 12, 2022




                                              2
                                                                                    SRF 50789
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                             Exhibit A
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                                                                                                                          Exhibit A
                                                                                                                       Master Service List
                                                                                                                    Served as set forth below


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                                                                                                                              Exhibit A
                                                                                                                           Master Service List
                                                                                                                        Served as set forth below


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                                                                                                                            Exhibit A
                                                                                                                         Master Service List
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                                                                                                                             Exhibit A
                                                                                                                          Master Service List
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